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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

FRED WATSON,                                     )
                                                 )
               Plaintiffs,                       )
                                                 )
       v.                                        )   Case No. 4:17-cv-2187
                                                 )
CITY OF FERGUSON, MISSOURI, et al.               )
                                                 )
               Defendants.                       )

    SUPPLEMENTAL MATERIAL FOR DEFENDANTS’ JOINT STATEMENT OF
                  UNDISPUTED MATERIAL FACTS

       COMES NOW Defendant City of Ferguson and hereby submits supplemental material for

Defendants’ Joint Statement of Undisputed Material Facts (Doc. #129), that is, the certification of

City Code 44-1, which was attached as Exhibit 15 to the Defendants’ Joint Statement of

Undisputed Material Facts (Doc. #129-11).

                                             Respectfully submitted,

                                             LEWIS RICE LLC

                                             By: /s/ Ronald A. Norwood
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                                             Attorneys for Defendants City of Ferguson
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 28th day of June, 2019, a true copy hereof
was electronically filed with the Clerk of the Court using the CM/ECF system, to be served by
operation of the Court’s electronic filing system on all counsel of record.

                                                  /s/ Ronald A. Norwood




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  Exhibit 15
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Ferguson, MO Code of Ordinances                                                                  about:blank
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Ferguson, MO Code of Ordinances                                                                  about:blank
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Ferguson, MO Code of Ordinances                                                                  about:blank
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